         Case 1:16-cv-00259-KCD Document 187 Filed 03/22/23 Page 1 of 2




             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
______________________________________
                                       )
HEALTH REPUBLIC INSURANCE              )
COMPANY,                               )
                                       )
                  Plaintiff,           )   No. 16-259
                                       )
            v.                         )   Filed: March 22, 2023
                                       )
THE UNITED STATES,                     )
                                       )
                  Defendant.           )
______________________________________ )
                                       )
COMMON GROUND HEALTHCARE               )
COOPERATIVE,                           )
                                       )
                  Plaintiff,           )   No. 17-877
                                       )
            v.                         )   Filed: March 22, 2023
                                       )
THE UNITED STATES,                     )
                                       )
                  Defendant.           )
______________________________________ )

                                            ORDER

       On March 21, 2023, the Court held a status conference in the above-captioned matters to

discuss the issues raised in Plaintiff’s recent motions for status conference. As discussed during

the conference, Class Counsel and counsel for the objecting class members are ordered to meet

and confer and file a Joint Status Report by no later than April 4, 2023, setting forth a proposal

for further proceedings on remand with respect to Class Counsel’s motion for approval of their

attorney’s fee request.

       Consistent with the discussion related to the claims and counterclaims involving Colorado

Health Insurance Cooperative, Inc. in Health Republic, the Court understands that the parties will
        Case 1:16-cv-00259-KCD Document 187 Filed 03/22/23 Page 2 of 2




be submitting shortly a joint filing requesting judgment that sets forth separate positions on the

language for the judgment.

       SO ORDERED.



Dated: March 22, 2023                                       /s/ Kathryn C. Davis
                                                            KATHRYN C. DAVIS
                                                            Judge




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